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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                          CASE NO.: 18-CIV-21798-UNGARO/O’Sullivan


  VINCENZO SURACE,

           Plaintiff,
                                                                        STATEMENT OF CLAIM
  vs.

  IL GIARDINO, LLC d/b/a Il Giardino, a Florida
  limited     liability company,     BARBRA
  PELLIGRINI, an individual, and IMAM DUZ, an
  individual,

        Defendants.
  _______________________________________/


                                       STATEMENT OF CLAIM

         COMES NOW Plaintiff VINCENZO SURACE (“Plaintiff”) and files his Statement of

 Claim for unpaid overtime wages, pursuant to Court Order DE 4. At this time, Plaintiff is not in

 possession of his time and pay records throughout the relevant time period, and reserves his right

 to amend as litigation proceeds.

 For Plaintiff VINCENZO SURACE

     Period Claimed: July, 2017 to March, 2018, approximately.

     Weeks: 35, approximately.

     Hours Worked: Plaintiff worked for Defendants as a dishwasher in their restaurant,

     Columbus. He was an hourly, non-exempt employee. He was initially paid through paycheck,

     but after the initial period he was paid in cash. He worked both double shifts that began at

     8am and ended at “closing” (average end of shift: 3:30am), and evening shifts that began at

     an average of 4pm until closing. Plaintiff worked an average of six shifts per week
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       throughout his employment. For some overtime hours worked he was paid at his straight

       regular rate of pay ($9.00 per hour), and for other overtime hours he was not paid at all.

 WAGES OWED:

 Overtime Wages – Straight Pay

Year        Weeks Worked       OT Hours -      OT Wage    OT Paid      Difference Minimum
                               Straight Pay                                        Wage Owed
2017        26                 36              $13.50     $9.00        $4.50       $4,212.00
2018        9                  36              $13.50     $9.00        $4.50       $1,458.00
                                         Total Overtime Owed (Straight Wage): $5,670.00

 Overtime Wages – Unpaid

 Year         Weeks Worked        OT Hours OT Wage         OT Paid Difference Overtime
                                  - Unpaid                                       Wage Owed
 2017         26                  20         $13.50        $0.00     $13.50      $7,020.00
 2018         9                   20         $13.50        $0.00     $13.50      $2,430.00
                                         Total Overtime Owed (Unpaid Hours): $9,450.00

          With an equal amount of liquidated damages for these willful violations, Plaintiff is owed

 a total of $15,120, plus reasonable attorney’s fees and costs.

          Respectfully submitted this 25th day of May, 2018.

                                          By:      s/Robert W. Brock II
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                                                   Attorney for Plaintiffs




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                                    CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on May 25, 2018, I electronically filed the foregoing
 document via CM/ECF. I also certify that the foregoing document is being served this day on all
 counsel of record or pro se parties identified in the attached Service in the manner specified,
 either via transmission of Notices of Electronic Filing generated by CM/ECF, or in some other
 manner for those counsel or parties who are not authorized to receive electronic Notices of
 Electronic Filing.

                                          By:      s/Robert W. Brock II
                                                   Robert W. Brock II, Esq.
                                                   Florida Bar No. 75320




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